
71 So.3d 904 (2011)
John T. BRYANT and Moriah Bryant, Appellants,
v.
REYNOLDS GENERAL CONTRACTORS, INC., Appellee.
No. 5D10-2412.
District Court of Appeal of Florida, Fifth District.
September 16, 2011.
Rehearing Denied October 13, 2011.
Mark S. Peters of Eisenmenger, Berry &amp; Peters, P.A., Viera, for Appellants.
Pierre A.L. Mommers of Pierre A.L. Mommers, P.A., Mommers &amp; Colombo, Melbourne, for Appellee.
PER CURIAM.
AFFIRMED.
PALMER and LAWSON, JJ., concur.
EVANDER, J., dissents with opinion.
EVANDER, J., dissenting.
While I acknowledge that the "abuse of discretion" standard of review is a deferential one, I believe a reversal is required. *905 Given the ultimate outcome below, this was an ideal case for the trial court to hold that neither side was the "prevailing party" and to decline to make an award of attorney's fees. See, e.g., Merchants Bonding Co. (Mutual) v. City of Melbourne, 832 So.2d 184 (Fla. 5th DCA 2002); Brevard County Fair Ass'n v. Cocoa Expo, Inc., 832 So.2d 147 (Fla. 5th DCA 2002); Lasco Enters., Inc. v. Kohlbrand, 819 So.2d 821 (Fla. 5th DCA 2002).
